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                                                STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL

LETITIA JAMES                                                                                        DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                            LITIGATION BUREAU


                                              Writer Direct: (518) 776-2584

                                                         July 9, 2020

       Hon. Daniel J. Stewart
       U.S. Magistrate Judge
       James T. Foley U.S. Courthouse
       445 Broadway, Room 112
       Albany, NY 12207


       Re:      Association of Jewish Camp Operators, et al. v. Cuomo
                20-cv-687, GTS/DJS



       Dear Judge Stewart,

              On consent of plaintiffs, defendants respectfully request an extension of their time to
       respond to the complaint, to July 30, 2020.



                                                                      Sincerely,

                                                                      s/ Chris Liberati-Conant

                                                                      Chris Liberati-Conant
                                                                      Assistant Attorney General
                                                                      Bar Roll No. 700466
                                                                      christopher.liberati-conant@ag.ny.gov




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